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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  THE STATE OF TEXAS, ET AL.               §
                                           §
                                           §
  v.                                       §          CIVIL NO. 4:20-CV-957-SDJ
                                           §
                                           §
  GOOGLE LLC                               §

               REPORT AND RECOMMENDATION OF SPECIAL MASTER

           The Court referred Google LLC’s (“Google”) Motion for Protective Order

  Prohibiting Plaintiffs from Deposing Sergey Brin, Sundar Pichai, and Neal Mohan

  (Dkt. #349) (the “Motion”) to the Special Master for consideration and entry of a

  report and recommended disposition. (Dkt. #367). On April 15, 2024, the Plaintiff

  States (the “States”) filed their response in opposition to the Motion. (Dkt. #375). On

  April 18, 2024, the Special Master held an in-person hearing regarding the Motion

  (the “April 18 Hearing”).

           In the Motion, Google seeks a protective order prohibiting the depositions of

  three high-ranking Google executives: (1) Google’s CEO Sundar Pichai, (2) Google’s

  co-founder and board member Sergey Brin, and (3) YouTube CEO Neal Mohan. (Dkt.

  #349).

           For the reasons stated herein, the Special Master recommends that the Court

  GRANT-IN-PART and DENY-IN-PART the Motion. The Special Master recommends

  that all three depositions proceed. However, Mr. Brin’s deposition shall be limited to

  2.5 hours, and Mr. Pichai and Mr. Mohan’s depositions shall be limited to 4 hours

  each.
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               LEGAL STANDARD

        It is well-established that “control of discovery is committed to the sound

  discretion of the trial court.” Williamson v. U.S. Dep't of Agric., 815 F.2d 368, 382 (5th

  Cir. 1987). Under Federal Rule of Civil Procedure 26(b)(1), “[p]arties may obtain

  discovery regarding any non-privileged matter that is relevant to any party's claim

  or defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). Both

  Rule 26(b)(1) and this District's Local Civil Rule 26(d) provide guidance in evaluating

  whether the requested discovery is both relevant and proportional. See Fed. R. Civ.

  P. 26(b)(1) (factors to consider include the “importance of the issues at stake in the

  action, the amount in controversy, the parties’ relative access to relevant information,

  the parties’ resources, the importance of the discovery in resolving the issues, and

  whether the burden or expense of the proposed discovery outweighs its likely

  benefit.”); E.D. Tex. Local Rule CV-26(d) (5 factors guiding relevant discovery). Rule

  26(b) “has never been a license to engage in an unwieldy, burdensome, and

  speculative fishing expedition.” Crosby v. La. Health Serv. & Indem. Co., 647 F.3d

  258, 264 (5th Cir. 2011) (internal quotation marks and citation omitted).

        “The only pre-deposition protest allowed by the Federal Rules of Civil

  Procedure is a motion for a protective order.” Ferko v. Nat'l Ass'n for Stock Car Auto

  Racing, Inc., 218 F.R.D. 125, 144 (E.D. Tex. 2003) (citations omitted). Under Federal

  Rule of Civil Procedure 26(c), a “court may, for good cause, issue an order to protect

  a party or person from annoyance, embarrassment, oppression, or undue burden or

  expense.” Fed. R. Civ. P. 26(c)(1). The movant bears the burden of showing that a

  protective order is necessary, “which contemplates a particular and specific


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  demonstration of fact as distinguished from stereotyped and conclusory statements.”

  Equal Emp. Opportunity Cmm'n v. BDO USA, L.L.P., 876 F.3d 690, 698 (5th Cir.

  2017) (internal quotation marks and citation omitted); Zavala v. Cooper Tire &

  Rubber Co., No. 4:22-CV-498, 2022 WL 17069113, at *1 (E.D. Tex. Nov. 17, 2022)

  (citing Landry v. Air Line Pilots Ass'n, 901 F.2d 404, 435 (5th Cir. 1990)) (“Therefore,

  a Protective Order is warranted in those instances in which the party seeking it

  demonstrates good cause and a specific need for protection.”).

        Protective orders barring depositions are rarely granted, “and absent

  extraordinary circumstances, such an order would likely be in error.” Salter v. Upjohn

  Co., 593 F.2d 649, 651 (5th Cir. 1979) (citations omitted) (noting that “[i]t is very

  unusual for a court to prohibit the taking of a deposition altogether”).

               ANALYSIS

               a. Pichai and Brin Depositions

        Google argues that, owing to Mr. Brin and Mr. Pichai’s high-level positions at

  Google, they should be considered apex deponents under the Salter framework. (Dkt.

  #349 at 6). Google argues that, as to the issues identified by the States for which they

  seek testimony—namely, Google’s acquisition of DoubleClick in 2008 and the

  Network Bidding Agreement between Google and Meta (“NBA”)—Messrs. Brin and

  Pichai do not have unique knowledge. (Id. at 6–9). Google argues that the States are

  not entitled to depose Messrs. Brin and Pichai, as the States have not yet exhausted

  less-intrusive means to acquire the information sought, e.g., from deposing

  lower-level employees or Rule 30(b)(6) deponents on the same topics. (Id. at 9–10). In

  support of its position, Google relies upon Computer Acceleration Corp. v. Microsoft


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  Corp., No. 9:06-cv-140, 2007 WL 7684605 (E.D. Tex. June 15, 2007) and Motion

  Games, LLC v. Nintendo Co., Ltd., No. 6:12-cv-878-JDL, 2015 WL 11143486 (E.D.

  Tex. Mar. 15, 2015), in which Courts in this District declined to order the depositions

  of Bill Gates of Microsoft and the CEO of Nintendo, respectively. (See id. at 5–6); (Apr.

  18 Hrg. Tr. at 117–118).

        The States respond that, under a burden-shifting framework analysis used by

  Courts in this District, the States have met their initial burden to show relevance of

  the requested discovery, and Google has failed its burden to show that the States can

  obtain information through less-intrusive means and that the witnesses lack unique

  knowledge. (Dkt. #375 at 4–5). The States argue that Messrs. Brin and Pichai possess

  unique, relevant information, as they were both intimately involved with Google’s

  “acquisition of DoubleClick [and] played a significant role in all of the other

  monopolization and attempt theories” of the States’ claims. (Id. at 5–7); (Apr. 18 Hrg.

  Tr. at 140). The States emphasized Messrs. Brin and Pichai’s intent as to DoubleClick

  and further as to Google’s plans upon acquiring that important ad server asset. (Id.

  at 140–41). The States allege that “Google entered the publisher ad server market by

  acquiring DoubleClick in 2008…Soon thereafter, Google began pursuing an unlawful

  strategy to monopolize the market for publisher ad servers.” (Fourth Am. Complaint

  ¶¶ at 245–46) (emphasis added). Mr. Brin was President of Google at this time. (Dkt.

  349-1 at 8). The States also urge that Mr. Pichai as CEO has relevant knowledge of

  the NBA and had “final approval” of the agreement, (Dkt. #375 at 8), which Google

  disputes. (Dkt. 339-1 at 8).    The States argue they cannot acquire this critical




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  information by deposing lower-ranking personnel, noting that Google has not

  identified any individuals with equal or superior knowledge, and also noting that

  Google no longer employs many of the individuals who appear on relevant documents.

  (See id. at 6–7, 9, n. 3, 4).

         As to proportionality and burden, the States stressed in oral argument the

  importance of this case, noting that “[t]his is a case by 17 sovereign States. And we’re

  seeking to break up Google. That’s a pretty big deal.” (Apr. 18 Hrg. Tr. at 141). The

  States further note that “the stakes are high,” and “[t]he allegations that we’re

  making are real serious, so it means that high level people have to get in a chair” and

  “sit for a deposition.” (Id. at 141–42). Accordingly, the States argue, the burden of

  ordering Messrs. Brin and Pichai to provide deposition testimony is justified given

  the importance of the issues at stake in the action, the amount in controversy, and

  proportionality of the case. (Id.). The States also argue that intent is an essential

  element of their attempted monopolization claims and it is rare for direct evidence of

  anti-competitive intent to be documented, thus requiring exploration through

  depositions of high-level and policy-making Google personnel. (Id. at 139–40).

         The “apex doctrine,” as applied in Texas state courts, does not apply in federal

  court. See Gauthier v. Union Pac. R.R. Co., No. CIV. A. No. 1:07-CV-12 (TH/KFG),

  2008 WL 2467016, at *4 n.2 (E.D. Tex. June 18, 2008)(“[T]he specific standards set

  forth by the Texas apex doctrine . . . [are] inapplicable in this federal . . . proceeding”).

  “Federal courts permit the depositions of high-ranking executives, also known as apex

  executives, when conduct and knowledge at the highest levels of the corporation are




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  relevant to the case.” Motion Games, 2015 WL 11143486, at *1. When a high-ranking

  executive was personally involved in events giving rise to a consequential dispute,

  that executive may be deposed. Kimberly-Clark Corp. v. Continental Cas. Co., 2006

  WL 3436064, at *4 (N.D. Tex. Nov. 29, 2006) (“[I]n this case Continental has shown

  that Falk has personal involvement in a multimillion insurance dispute that requires

  his testimony.”).

          Google relies upon Computer Acceleration, but that case is distinguishable

  from this action. (Apr. 18 Hrg. Tr. at 148). In Computer Acceleration, the plaintiff

  sought Mr. Gates’s deposition regarding the asserted “importance that Mr. Gates

  placed on boot speed,” a discrete technical issue in a patent infringement case, which

  request the Court denied. 2007 WL 7684605, at *1. In contrast, the Special Master

  notes Mr. Gates did testify at deposition and at trial in United States v. Microsoft

  Corp., an unquestionably important antitrust proceeding in which the Department of

  Justice sought to break up Microsoft. See U.S. v. Microsoft Corp., 253 F.3d 34, 99

  (D.C.     Cir.      2001)   (referring   to     trial    testimony    from     Gates);

  https://www.justice.gov/atr/deposition-bill-gates-us-v-microsoft-corporation   (Gates

  deposition transcript) (last accessed April 22, 2024).

          Google also relies upon the Motion Games case. In Motion Games, the plaintiffs

  sought the deposition of Nintendo’s CEO, Satoru Iwata, regarding three subject

  matters: (i) public remarks alleged to contradict comments made by Nintendo’s

  witnesses, (ii) the background of a license agreement, and (iii) to “investigate”

  meetings between plaintiff and representatives for Nintendo of America. 2015 WL




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  11143486, at *2. In denying plaintiff’s motion to compel the deposition, the Court in

  Motion Games concluded that there were no contradictions in Mr. Iwata’s public

  remarks and that Mr. Iwata had no relevant, unique knowledge regarding the license

  agreement or meetings between Motion Games and Nintendo of America. Id., at *2–4.

  Here, unlike in Computer Acceleration and Motion Games, the Special Master finds

  that Messrs. Brin and Pichai possess unique, relevant knowledge, especially as to the

  actions taken after the acquisition of DoubleClick that is of substantial importance

  to the antitrust claims. Further, unlike in PA Advisors, LLC v. Google, Inc., Civ. A.

  No. 2:07-cv-480-DF, 2009 WL 10741630 (E.D. Tex. Aug. 28, 2009), neither Mr. Brin

  nor Mr. Pichai submitted declarations to the effect that they lack unique knowledge.

  See id., at *1 (“Mr. Brin declares that he has no unique information about this case .

  . . .”).

             Turning first to Mr. Brin, the Special Master finds that Mr. Brin likely

  possesses unique, relevant knowledge. Specifically, the documentary record of emails

  establish Mr. Brin has direct personal knowledge regarding the DoubleClick

  acquisition, including Google’s goals with respect to such acquisition, the rationale

  behind paying a higher price for DoubleClick, and Google’s competition with

  Microsoft for the acquisition of DoubleClick. (See Dkt. #375-7, #375-8).

             Although the DoubleClick acquisition standing alone may not be alleged to be

  an anti-competitive act of Google, it is the alleged origin of Google’s digital advertising

  business and the subsequent conduct with that enterprise is at the core of the

  monopolization and attempted monopolization claims in this case. (Fourth Am.




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  Complaint ¶¶ 19, 245–46); (Apr. 18 Hrg. Tr. at 140). Further, the States allege in

  Count II of their Fourth Amended Complaint that Google attempted to achieve

  monopoly power “willfully, knowingly, and with specific intent.” (Id. ¶ 604); see

  Spectrum Sports, Inc. v. McQuillan, 506 U.S. 447, 456 (1993) (“[I]t is generally

  required that to demonstrate attempted monopolization a plaintiff must prove . . . a

  specific intent to monopolize . . . .”). Thus, the knowledge of high-level executives such

  as Mr. Brin about the importance of DoubleClick and Google’s attendant business

  intentions for that asset is uniquely important and relevant (Apr. 18 Hrg. Tr. at

  140-41). And as the States note, many, but not all, of the other individuals involved

  in the acquisition are no longer employed by Google. (Dkt. #375 at 6, n.3); (Apr. 18

  Hrg. Tr. at 142).1

        Mr. Brin is a founder and President of Google when it acquired DoubleClick,



                                                                        . (See Dkt. #375-7

  at GOOG-TEX-01068771 (“                                                  ”), GOOG-TEX-

  01068772 (“                                                     ”)). However, since the

  acquisition occurred years ago, and Google has identified Mr. Mohan as also




  1 Mr. Brin’s position is closer to that of Mark Zuckerberg in ZeniMax Media, Inc. v.

  Oculus VR, LLC, 2015 WL 13949662 (N.D. Tex. Dec. 7, 2015), in which the district
  court ordered Mr. Zuckerberg’s deposition to proceed due to his “active participation
  in Facebook’s acquisition of Oculus” and because “he has unique knowledge, as
  Facebook’s Founder, Chairman, and CEO, regarding his own decision to acquire
  Oculus and his valuation of Oculus . . . .” Id., at *2.


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  possessing knowledge regarding the acquisition,2 the Special Master is sensitive to

  Google’s arguments and is of the view that Mr. Brin should receive some protection.

  Accordingly, Mr. Brin’s deposition should be limited to 2.5 hours, which is

  considerably less than the 7 hours permitted under the Court’s Scheduling Order

  (Dkt. #194 at 7) and also less than the States sought (Ex. 1).

        Second, the Special Master is persuaded that Mr. Pichai as CEO possesses

  ample, current, relevant and unique knowledge—likely to an even greater extent

  than Mr. Brin. The States have shown that Mr. Pichai was a key figure in factual

  developments relevant to this case, including the DoubleClick acquisition, the

  Network Bidding Agreement with Meta, and competition with Microsoft. (See Dkt.

  #375-3, #375-4, #375-5, #375-9, #375-11, #375-12). Further, as the CEO of Google,

  Mr. Pichai undoubtedly has unique knowledge with respect to Google’s Display Ads

  business, a significant revenue driver of the company, and as with Mr. Brin, other

  persons who appear on relevant documents with Mr. Pichai are no longer employed

  at Google. (Dkt. #375 at 7, n.4).3

        In response to inquiry from the Special Master, the States advised that they

  only seek “3-4 hours” for the three requested depositions. (See Ex. 1) (Apr. 18, 2024




  2 Google identifies Mr. Mohan as a Rule 30(b)(6) witness regarding the transaction.




                                                   about Google’s plans or intentions as
  alleged by the States.
  3 The Special Master notes that CEO Pichai testified in other recent antitrust matters

  involving Google—Epic Games, Inc. v. Google LLC, No. 3:20-cv-5671-JD (N.D. Cal.)
  (“Play”) and U.S. v. Google LLC, No. 1:20-cv-3010-APM (D.D.C.) (“Search”).


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  email from Z. DeRose to Special Master). Upon careful consideration, the Special

  Master recommends that Mr. Pichai be deposed for no more than 4 hours. (See Dkt.

  #194 at 7) (Court’s Scheduling Order providing that depositions of “executive-level

  employees of Google” are limited to 7 hours).

               b. Mohan Deposition

        Google seeks to preclude the deposition of Neal Mohan, who was previously an

  officer of DoubleClick and then was involved in DoubleClick integration when he

  joined Google. Importantly, Google does not contend that Mr. Mohan lacks relevant

  knowledge, but instead bases its argument on the fact that Mr. Mohan was deposed

  for 7 hours during the pre-suit investigation4 and for another 7 hours in October 2023

  as part of the MDL. (Dkt. #349 at 10–11). Google points out that the States

  cross-noticed Mr. Mohan’s deposition in July 2023, then withdrew their cross-notice

  the following month and did not participate in the deposition. (Id.). Google therefore

  argues that another deposition of Mr. Mohan would be unreasonably cumulative and

  unduly burdensome. (Id. at 12).

        The States argue in response that they have not deposed Mr. Mohan in this

  case, that they are not bound by the terms of the MDL or Virginia Coordination

  Orders because this action is not a “Coordinated Case,” and that Google has relatively

  recently produced more than 12,000 documents related to Mr. Mohan since his

  deposition in the MDL. (Dkt. #375 at 11–15).



  4 The Court previously ordered that pre-suit depositions taken in response to Civil

  Investigative Demands “do not count against the deposition caps” imposed by the
  Court. (See Dkt. #194 at 6–7).


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        In the Special Master’s view, the States are not bound by the terms of

  Coordination Orders entered in other Courts, and thus Mr. Mohan has not been

  deposed in this case. Further, Google has not agreed that Mr. Mohan’s testimony from

  the Virginia Action can be used in this case. (See Apr. 18 Hrg. Tr. at 134) (“Are you

  willing to say that the deposition he gave to the DOJ can be treated as if it were taken

  in this case? . . . We will get back to you on that.”). Additionally, Google has produced

  thousands of documents relating to Mr. Mohan since his deposition in October 2023.

  Finally, Google has represented that Mr. Mohan will be designated as a Rule 30(b)(6)

  witness on Google’s behalf, including as to Topic 66 relating to DoubleClick. (Apr. 18

  Hrg. Tr. at 126) (“[W]e will have a witness testify about [the acquisition], and it would

  be Mr. Mohan”); (id. at 136) (“[T]o some extent, we may designate him on some issues,

  so there may be a limited amount of extra testimony”). That said, Mr. Mohan has

  been deposed a total of 14 hours. And given that Mr. Mohan is also being put forward

  by Google in his capacity as a Rule 30(b)(6) representative, the Special Master

  therefore recommends that Mr. Mohan be limited to a deposition of no more than 4

  hours in his individual capacity.

               CONCLUSION

        For the reasons stated herein, the Special Master recommends that the Court

  GRANT-IN-PART and DENY-IN-PART the Motion. Mr. Pichai and Mr. Mohan shall

  be deposed for no more than 4 hours each, whereas Mr. Brin shall be deposed for no

  more than 2.5 hours.




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  Signed this 25th day of April, 2024.



                                         _             ________________
                                         David T. Moran
                                         Special Master
                                         TXBN: 14419400
                                         JACKSON WALKER LLP
                                         2323 Ross Avenue, Suite 600
                                         Dallas, Texas 75201
                                         Telephone: (214) 953-6051
                                         E-mail: dmoran@jw.com




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                               CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing Order of Special Master was filed

  electronically in compliance with Local Rule CV-5(a) on this 25th day of April, 2024

  and was served on all counsel who are deemed to have consented to electronic service

  by electronic mail.



                                            ___              ___________
                                            David T. Moran

            CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL
        Pursuant to the Court’s Order Appointing Special Master (Dkt. No. 213), I

  certify that the Court has already granted authorization to seal this document.

        Date: April 25, 2024


                                            _              _____________
                                            David T. Moran




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